       _'}.
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          1
                                      UNITED STATES DISTRICT COURT
         2
                                   SOUTHERN DISTRICT OF CALIFORNIA
         3
         4     UNITED STATES OF AMERICA,                     Case No.:    '22 MJ01564
         5                                Plaintiff,
                                                             COMPLAINT FOR VIOLATION OF
         6
                     v.
         7                                                   Title 21 U.S.C. §§ 952 and 960
                                                             Importation of a Controlled Substance
         8    Pedro Tomas GARCIA,                            (Felony)
         9                               Defendant.
       10
                    The undersigned complainant being duly sworn states:
       11
       12           On or about May 5, 2022, within the Southern District of California, Pedro Tomas
       13
              GARCIA, did knowingly and intentionally impmi a mixture and substance containing a
       14
              detectable amount of methamphetamine, a Schedule II Controlled Substance, into the United
       15

       16 States from a place outside thereof, in violation of Title 21, United States Code, Sections
       17
              952 and 960.
       18
                    The complainant states that this complaint is based on the attached Statement of Facts
       19

       20     incorporated herein by reference.
       21
       22                                               (}, p ial Agent Joseph S. Cuttitta Jr.
       23                                                  Homeland Security Investigations
              Sworn and attested to under oath by telephone, in accordance with Federal Rule of Criminal
       24
              Procedure 4.1, this 6th of May 2022.
       25
       26                                                  HON WILLIAM V. ALLO
       27                                                  U.S. MAGISTRATE JUDGE

       28
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                                 STATEMENT OF FACTS
 2

 3
           On May 5, 2022, at approximately 10:33 PM, Pedro Tomas GARCIA,
 4
     ("GARCIA"), a United States Citizen, applied for entry into the United States from
 5

 6   Mexico through the San Ysidro P011 of Entry in vehicle lane #24. GARCIA was the
 7
     driver, sole occupant, and registered owner of a 2006 BMW 330i ("the vehicle")
 8

 9
     bearing California license plates.

10         A Customs and Border Protection Officer received two negative Customs
11
     declarations from GARCIA. GARCIA stated he was crossing the border to go to
12

13   Escondido, California. The officer referred GARCIA and the vehicle to secondary
14
     because the back seats felt abnormally bumpy and solid.
15
           A CBPO operating the Z-Portal X-Ray machine detected anomalies in the rear
16


I7   seats of the vehicle.
18
           Further inspection of the vehicle resulted in the discovery of 93 packages
19

20   concealed in the rear seats of the vehicle, with a total approximate weight of 48.08
21
     kgs (105.99 lbs.). A sample of the substance contained within the packages field
22
     tested positive for the characteristics of methamphetamine.
23

24         GARCIA was placed under arrest at approximately 1: 15 AM on May 6, 2022.
25

26

27

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         Case 3:22-cr-01222-BAS Document 1 Filed 05/06/22 PageID.3 Page 3 of 3




           During a post-Miranda interview, GARCIA admitted that he was going to be

 2   paid $5,000 USD to smuggle the narcotics into the United States. GARCIA claimed
 3
     to be driving the narcotics to San Diego, California.
 4

 5         GARCIA was arrested and charged with a violation of Title 21, United States
 6
     Code, 952 and 960, importation of a controlled substance.
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